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                                                                      Page 382
              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL          )     MDL NO. 2179
BY THE OIL RIG            )
"DEEPWATER HORIZON" IN    )     SECTION "J"
THE GULF OF MEXICO, ON    )
APRIL 20, 2010            )     JUDGE BARBIER
                          )     MAG. JUDGE SHUSHAN




                    *****************
                         VOLUME 2
                    *****************




         Deposition of Henry Matthew Thierens, taken at
Kirkland & Ellis International, 30 St. Mary Axe, 22nd
Floor, London EC3A 8AF, England, United Kingdom, on the
10th of June, 2011.




            PURSUANT TO CONFIDENTIALITY ORDER
                                                             a99fd9ca-d4da-4dbf-80a0-3f1d18931638
     Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 2 of 28

                                Page 423                                                    Page 425
                                            1      Q. As you sit here today, Mr. Thierens, are you
                                            2   aware of any evidence that any member of the DEEPWATER
                                            3   HORIZON crew was indifferent or simply didn't care
                                            4   about the safety of other human beings?
                                            5             MR. SAFER: Objection, foundation.
                                            6      A. My observations from visits that I had to the
                                            7   HORIZON didn't indicate that.
                                            8      Q. (By Mr. Johnson) I -- and I appreciate that.
                                            9   And we're going to get to that in just a little bit,
                                           10   but of -- of any other evidence -- are you aware of any
                                           11   other evidence, in -- including your visits or anything
                                           12   else that would suggest that any member of the
                                           13   DEEPWATER HORIZON crew was indifferent or didn't care
                                           14   about the safety of others?
                                           15             MR. SAFER: Objection, foundation.
                                           16      A. I -- I'm not aware of any.
                                           17      Q. (By Mr. Johnson) Okay. Are you aware of any
                                           18   evidence that any member of the DEEPWATER HORIZON crew
                                           19   was indifferent about care toward the environment?
                                           20             MR. SAFER: Objection, foundation.
                                           21      A. I'm not aware of anything.
                                           22      Q. (By Mr. Johnson) Okay. Are you aware of any
                                           23   evidence that any member of the DEEPWATER HORIZON crew
                                           24   deliberately wanted to injure another human being?
25                                         25             MR. SAFER: Objection, foundation.

                                Page 424                                                    Page 426
1                                           1     A. I'm not aware of that.
2                                           2     Q. (By Mr. Johnson) Okay. Are you aware of any
3                                           3   evidence that any member of the DEEPWATER HORIZON crew
                                            4   deliberately wanted to damage the environment in any
                                            5   way?
 6                                          6            MR. SAFER: Objection, foundation.
 7                                          7     A. I'm not aware of that.
 8                                          8     Q. (By Mr. Johnson) Okay. Are you aware of any
 9                                          9   member of the DEEPWATER HORIZON crew acting with malice
10                                         10   toward other human beings?
11                                         11            MR. SAFER: Objection, foundation.
12                                         12     A. I'm not aware of that.
13                                         13     Q. (By Mr. Johnson) Okay. Are you aware of any
                                           14   member of the DEEPWATER HORIZON crew acting with malice
                                           15   toward the environment, sir?
16                                         16            MR. SAFER: Objection, foundation.
17                                         17     A. I'm not aware of that.
18
19
20
21
22




                                                                   12 (Pages 423 to 426)
               PURSUANT TO CONFIDENTIALITY ORDER
                                                                              a99fd9ca-d4da-4dbf-80a0-3f1d18931638
          Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 3 of 28

                                                  Page 427                                                    Page 429
                                                              1      A. -- the procedures were comprehensive.
                                                              2      Q. You would recall it if you stayed up all night
                                                              3   worried about the safety procedures that you went over,
                                                              4   because you didn't feel like they were inadequate,
                                                              5   though. You would recall that, wouldn't you, sir?
                                                              6             MS. KARIS: Object to form.
                                                              7      A. If -- if I'd have found the safety procedures
                                                              8   were inadequate when they were given to me, I'd have
                                                              9   questioned it at the time.
                                                             10      Q. (By Mr. Johnson) Fair enough. And you didn't
                                                             11   do that, or you have no memory --
                                                             12      A. No.
                                                             13      Q. -- as you sit here today, of doing that,
                                                             14   correct?
                                                             15      A. No, I don't.
16      Q. Do you recall making a trip to the DEEPWATER      16      Q. Okay. And you had no reason to relay to
17   HORIZON in November of 2007?                            17   anyone at Transocean that those policies and procedures
18      A. No, I don't.                                      18   were deficient in any way; is that right?
19      Q. I'll -- I'm going to represent to you -- and      19             MR. SAFER: Objection --
20   I've got a -- a POB summary here that indicates you     20      A. The --
21   were onboard in November of 2007, and you may not       21             MR. SAFER: -- foundation.
22   remember the time frame. You wouldn't have any reason   22      A. At -- at the time, I had no reason to suspect
23   to dispute that, would you, sir?                        23   that any of the safety processes and practices that
24             MR. SAFER: Objection, foundation.             24   were told to us at the induction --
25      A. Yeah, I made several visits to the HORIZON --     25      Q. (By Mr. Johnson) Yes, sir.
                                                  Page 428                                                    Page 430
 1      Q. (By Mr. Johnson) Okay.                             1    A. -- were deficient in any way.
 2      A. -- during my tenure, and I -- I -- I don't         2    Q. And -- and that's the same -- that is --
 3   recall the dates.                                        3 that -- that was true on all of the trips you made to
 4      Q. All right. Fair enough. On those visits, you       4 the DEEPWATER HORIZON, correct?
 5   stayed overnight, slept on the rig, didn't you, sir?     5    A. On -- yeah, I think on every trip I did to the
 6      A. On -- certainly on some of those visits, I         6 HORIZON,       as with every rig, there would always be a
 7   did, yes.                                                7 safety induction.
 8      Q. And when you arrived on the rig, you               8    Q. Yeah. And you felt comfortable with those
 9   participated in a -- a safety orientation, did you not,  9 on -- on every trip to the DEEPWATER HORIZON, such you
10   sir?                                                    10 didn't report any deficiencies to anyone at Transocean,
11      A. Yes.                                              11 correct?
12      Q. Okay. And you felt like it was professionally 12               MS. KARIS: Object to form.
13   conducted during those times?                           13    A. Correct. I would have reported deficiencies.
14      A. The -- the -- yes, I did.                         14    Q. (By Mr. Johnson) And you did not?
15      Q. Okay. And you were acquainted, during those       15    A. Not that I recall.
16   orientations, with the emergency and evacuation         16    Q. Okay. Do you recall being on the rig in
17   procedures; isn't that true, sir?                       17 December of 2009, sir?
18      A. That's correct.                                   18    A. I know I was on the rig around that time
19      Q. Felt like those were sufficient so that you       19 frame,   but I -- I can't recall if it was December or
20   could fall asleep onboard and feel comfortable with     20 November.
21   the -- the procedures that were in place, did you not, 21     Q. Fair enough. And the rig -- it wasn't an
22   sir?                                                    22 out-of-service period. The rig was in operations at
23             MS. KARIS: Object to form.                    23 the time, correct?
24      A. I don't recall how I felt, but --                 24    A. I -- I can't remember.
25      Q. (By Mr. Johnson) Yeah.                            25    Q. Okay. And in that December visit, you stayed

                                                                                    13 (Pages 427 to 430)
                         PURSUANT TO CONFIDENTIALITY ORDER
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                                               Page 431                              Page 433
 1   overnight, did you not, sir?
 2      A. Yes, I did.
 3      Q. Okay. And the same question as earlier: You
 4   received a safety orientation when you boarded the rig,
 5   correct?
 6      A. Very much so.
 7      Q. Okay. You get a tour or walk-around of the
 8   rig at the time?
 9      A. I -- at -- after the safety induction --
10      Q. Yes, sir.
11      A. -- yeah, part of my visit, and -- and a -- and
12   a major part of all of my visits would be a safety
13   tour, yes.
14      Q. Had an opportunity to meet some of the
15   Transocean rig crew members, did you not, sir?
16      A. I did.
17      Q. Okay. Did you perceive the men and women that
18   you met, that they were competent and hard-working
19   people?
20             MR. SAFER: Objection, foundation.
21      A. I've got no grounds to establish their
22   competency.
23      Q. (By Mr. Johnson) Okay.
24      A. But for the purpose of the visit, the
25   walk-around, talking to people, were they cognizant of 25
                                               Page 432                              Page 434
 1   what their duties were, were they ab -- able to answer 1
 2   questions that I may have around safety- or job-related
 3   issues, I didn't -- I don't recall any -- any issues
 4   with anyone.
 5      Q. Okay. And it's fair to say from your
 6   perception of your visit in late 2009, you had no
 7   concerns about safetiness or seaworthiness of the
 8   vessel; isn't that true, sir?
 9      A. I -- I don't recall exactly what I concluded
10   from that visit, but I don't recall anything that would 1
11   remind me of anything significant in that regard.
12      Q. There was nothing that you learned about the
13   safety processes, procedures, or the seaworthiness of
14   the vessel that caused you to report that there were
15   any deficiencies, to Transocean; that's true, is it
16   not?
17      A. I -- I -- I didn't see any.
18      Q. Okay. And you didn't report anything to
19   Transocean, right?
20      A. I don't recall reporting anything.
21




                                                                 14 (Pages 431 to 434)
                       PURSUANT TO CONFIDENTIALITY ORDER
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                                                                    763

      1

      2               HENRY MATTHEW THIERENS, have read the
                      If
      3   foregoing deposition and hereby affix my signature that
      4   same is true and correct, except as noted on the
      5   attached Amendment Sheet.
      6
      7
                                        ~ XL; 21 4P1"
                                     HENRY MATTHEW THIERENS
      8
      9
          THE STATE OF
     10
          COUNTY OF
     11
     12            Before me,                            , on
          this day personally appeared HENRY MATTHEW THIERENS,
     13   known to me (or proved to me on the oath of
                                   or through
     14   to be the person whose name is subscribed to the
          foregoing instrument and executed the same for the
     15   purposes and consideration therein expressed.
                   GIVEN UNDER my hand and seal of office this
     16         day of                    , 2011.
     17
     18
                           Notary Public in and for
     19                    The State of
     20
     21
     22
     23
     24
     25



                       PURSUANT TO CONFIDENTIALITY ORDER
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                                                         1                                                           3
              UNITED STATES DISTRICT COURT                    1     2020 K Street, Northwest
                                                                    Washington, D.C. 20006-1806
              EASTERN DISTRICT OF LOUISIANA                   2
                                                              3   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                                   Mr. Thomas Ganucheau
      IN RE: OIL SPILL     ) MDL NO. 2179                     4    BECK, REDDEN & SECREST
      BY THEOIL RIG      )                                         One Houston Center
                                                              5    1221 McKinney Street, Suite 4500
      "DEEPWATER HORIZON" IN ) SECTION "J"                         Houston, Texas 77010-2010
      THE GULF OF MEXICO, ON )                                6
      APRIL 20, 2010    ) JUDGE BARBIER                       7   APPEARING FOR WEATHERFORD:
                                                                   Mr. Joseph J. Lowenthal, Jr.
                   ) MAG. JUDGE SHUSHAN                       8    JONES, WALKER, WAECHTER, POITEVENT,
                                                                      CARRERE & DENEGRE, LLP
                                                              9    201 St. Charles Avenue
                                                                   New Orleans, Louisiana 70170
                                                             10
                                                             11   APPEARING FOR M-I SWACO:
                                                                   Mr. John C. Funderburk
                                                             12    MORGAN, LEWIS & BOCKIUS, LLP
                                                                   1000 Louisiana Street, Suite 4000
                                                             13    Houston, Texas 77002-5006
                                                             14
                                                                  APPEARING FOR HALLIBURTON:
                                                             15    Mr. Donald E. Godwin
                                                                   Ms. Stefanie K. Major
                                                             16    Mr. James E. Johanns
                                                                   GODWIN RONQUILLO
                                                             17    1331 Lamar, Suite 1665
                   *******************                             Houston, Texas 77010-3133
                                                             18
                      VOLUME 1                               19   APPEARING FOR DRIL-QUIP, INC.:
                   ******************                              Mr. C. Dennis Barrow, Jr.
                                                             20    WARE, JACKSON, LEE & CHAMBERS
                                                                   America Tower, 42nd Floor
        Deposition of JAY THORSETH, taken at Kirkland        21    2929 Allen Parkway
      & Ellis International, 30 St. Mary Axe, 22nd                 Houston, Texas 77019-7101
                                                             22
      Floor, London EC3A 8AF, England, United Kingdom,       23   APPEARING FOR THE UNITED STATES:
      on the 20th of September, 2011.                              Mr. A. Nathaniel Chakeres
                                                             24    U.S. DEPARTMENT OF JUSTICE
                                                                   ENVIRONMENTAL & NATURAL
                                                             25    RESOURCES DIVISION

                                                         2                                                           4
 1           APPEARANCES                                      1     601 D Street, N.W.
 2                                                                  Washington, D.C. 20004
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:        2
 3     Mr. Ervin A. Gonzalez                                        Ms. Malinda Lawrence
       Mr. Jeff J. Keiser                                     3     U.S. DEPARTMENT OF JUSTICE
 4     COLSON, HICKS EIDSON                                         TORT BRANCH, CIVIL DIVISION
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 5     New Orleans, Lousiana 70130
                                                              4     1425 New York Avenue, N.W.
 6                                                                  Suite 10100
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 7     Mr. Christopher W. Keegan                                    Post Office Box 14271
       KIRKLAND & ELLIS                                       6     Washington, D.C. 20044-4271
 8     555 California Street                                  7
       San Francisco, California 94104                            APPEARING FOR THE STATE OF LOUISIANA:
 9                                                            8    Mr. Douglas R. Kraus
       Ms. Leslie S. Garthwaite                                    KANNER & WHITELEY
10     KIRKLAND & ELLIS                                       9    701 Camp Street
       300 North LaSalle                                           New Orleans, Louisiana 70130-3504
11     Chicago, Illinois 60654                               10
12
                                                                    Ms. Phyllis E. Glazer
     APPEARING FOR THE WITNESS, JAY THORSETH:                11     Mr. Michael Keller
13     Mr. Jim E. Lavine
       Mr. Kyle Sampson                                             Assistant Attorney General
14     ZIMMERMANN, LAVINE, ZIMMERMANN                        12     Litigation Division
          & SAMPSON, P.C.                                           LOUISIANA DEPARTMENT OF JUSTICE
15     770 South Post Oak Lane, Suite 620                    13     400 Poydras Street, Suite 1600
       Houston, Texas 77056                                         New Orleans, Louisiana 70130-3220
16                                                           14
17   APPEARING FOR TRANSOCEAN:                               15   APPEARING FOR MOEX:
       Mr. Daniel Johnson                                          Mr. Jack Reynolds
18     Ms. Stephany LeGrand                                  16    PILLSBURY WINTHROP SHAW PITTMAN
       Mr. Steven L. Roberts                                       2 Houston Center
19     SUTHERLAND ASBILL & BRENNAN                           17    909 Fannin, Suite 2000
       1001 Fannin, Suite 3700                                     Houston, Texas 77010-1018
20     Houston, Texas 77002-6760                             18
21
                                                             19
     APPEARING FOR ANADARKO PETROLEUM COMPANY:
22     Mr. Tony Forte                                             ALSO PRESENT:
       BINGHAM MCCUTCHEN                                     20    Mr. Peter Jennings, videographer
23     399 Park Avenue                                       21
       New York, New York 10022-4689                         22
24                                                           23
       Warren Anthony Fitch                                  24
25     BINGHAM MCCUTCHEN                                     25

                                                                                                       1 (Pages 1 to 4)
                                         PURSUANT TO CONFIDENTIALITY ORDER
                   Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 7 of 28

                                                            301                                                       303
                                                                   1      Q. When you arrived on the rig, did you
            2                                                      2   receive a safety orientation?
                                                                   3      A. Yes.
                                                                   4      Q. Did you find the safety orientation to be
 6:37
6:21                                                               5   comprehensive?
                                                                   6      A. I thought it was a good overview.
                                                                   7      Q. It included evacuation processes and
                                                                   8   procedures, correct?
                                                                   9      A. Yes.
 6:37
6:22    1                                                         10      Q. Are you aware that the DEEPWATER HORIZON
                                                                  11   achieved seven years with no lost time incidents?
                                                                  12      A. Yes.
                                                                  13      Q. Are you aware that in September 2009, the
                                                                  14   DEEPWATER HORIZON contract was extended for a
 6:37
6:22                                                              15   period of three years to commence in 2010?
                                                                  16      A. Yes.
                                                                  17      Q. And that the value of that contract was
                                                                  18   approximately half a billion dollars?
                                                                  19            MR. KEEGAN: Objection.
 6:37
6:22                                                              20      A. I don't know.
                                                                  21      Q. (BY MS. LeGRAND) At any time during the
                                                                  22   drilling of the Macondo Well, did you observe or
                                                                  23   learn of any malicious acts towards human safety
                                                                  24   or environment by the crew of the DEEPWATER
                                                                  25   HORIZON?
                                                            302                                                       304
                                                                  1       A. Not that I can recall.
                                                                  2       Q. At any time during the drilling of the
                                                                  3    Macondo Well, did you observe or learn of any
                                                                  4    willful or intentional misconduct towards human
                                                                  5    safety or the environment on the part of the
                                                                  6    TransOcean rig crew?
                                                                  7             MR. KEEGAN: Objection to the form.
                                                                  8       A. So during -- during the Macondo Well or
                                                                  9    before or after?
                                                                 10       Q. (BY MS. LeGRAND) At any time that -- that
                                                                 11    you were either onboard the rig or that the -- the
                                                                 12    rig was on contract to BP. Any intentional and
                                                                 13    willful misconduct on the part of TransOcean crew
                                                                 14    members that would have affected human safety and
                                                                 15    the environment?
        16               Earlier, I believe you testified that   16       A. No.
        17      you visited the DEEPWATER HORIZON. Did you spend 17
        18      the night on the rig when you were there?
        19         A. I believe -- I believe I spent the -- I
6:36
6:38    20      think I did spend the night on the HORIZON once.
        21         Q. And you realize that BP employees and BP
        22      subcontractors' employees not only work on the
        23      rig, but they actually live on the rig, as well,
        24      when they're on a hitch, correct?
        25         A. Yes.

                                                                                       76 (Pages 301 to 304)
                                   PURSUANT TO CONFIDENTIALITY ORDER
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                                                               1                                                                  3
               UNITED STATES DISTRICT COURT                         1         A P P E A R A N C E S (Continued)
                                                                    2
               EASTERN DISTRICT OF LOUISIANA                        3   APPEARING FOR TRANSOCEAN:
                                                                            Mr. Richard J. Hymel
     IN RE: OIL SPILL      ) MDL NO. 2179                           4       Mr. Robert L. Blankenship
                                                                            PREIS & ROY
     BY THEOIL RIG       )                                          5       Versailles Centre, Suite 400
     "DEEPWATER HORIZON" IN ) SECTION "J"                                   102 Versailles Boulevard
     THE GULF OF MEXICO, ON )                                       6       Lafayette, Louisiana 70501
                                                                    7
     APRIL 20, 2010     ) JUDGE BARBIER                                 APPEARING FOR ANADARKO PETROLEUM COMPANY:
                    ) MAG. JUDGE SHUSHAN                            8       Mr. Steven Brody
                                                                            BINGHAM MCCUTCHEN
                                                                    9       399 Park Avenue
            ****************************************                        New York, New York 10022-4689
              ORAL AND VIDEOTAPED DEPOSITION OF                    10
                                                                   11   APPEARING FOR HALLIBURTON:
                    DAVID WALL                                              Mr. Thomas Ganucheau
                   JUNE 27, 2011                                   12       BECK, REDDEN & SECREST
            ****************************************                        One Houston Center
                                                                   13       1221 McKinney Street, Suite 4500
                                                                            Houston, Texas 77010-2010
                                                                   14
                                                                   15   APPEARING FOR DRIL-QUIP, INC.:
                                                                            Ms. Wendy Ware Bishop
                                                                   16       WARE, JACKSON, LEE & CHAMBERS
                                                                            America Tower, 42nd Floor
                                                                   17       2929 Allen Parkway
                                                                            Houston, Texas 77019-7101
                                                                   18
                                                                   19   APPEARING FOR MOEX OFFSHORE 2007, L.L.C., and MOEX USA:
                                                                            Mr. Greg T. Lembrich
                                                                   20       PILLSBURY WINTHROP SHAW PITTMAN, L.L.P.
                                                                            1540 Broadway
                                                                   21       New York, New York 10036
                                                                   22
              Deposition of DAVID WALL, taken at                        APPEARING FOR M-I SWACO:
     Kirkland & Ellis International, 30 St. Mary Axe, 22nd         23       Ms. Denise Scofield
     Floor, London EC3A 8AF, England, United Kingdom, on the                MORGAN, LEWIS & BOCKIUS, L.L.P.
                                                                   24       1000 Louisiana Street, Suite 4000
     27th of June, 2011.                                                    Houston, Texas 77002-5006
                                                                   25

                                                               2                                                                  4
 1             APPEARANCES                                          1          A P P E A R A N C E S (Continued)
 2                                                                  2
 3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:              3   APPEARING FOR HALLIBURTON:
         Mr. Ian Taylor                                                     Mr. Donald E. Godwin
 4       LEWIS, KULLMAN, STERBCOW & ABRAMSON                        4       Ms. Jenny L. Martinez
         601 Poydras Street, Suite 2615
                                                                            Ms. Michelle W. MacLeod
 5       New Orleans, Louisiana 70130
 6       Mr. Robert T. Cunningham
                                                                    5       GODWIN RONQUILLO
         CUNNINGHAM BOUNDS, L.L.C.                                          1201 Elm Street, Suite 1700
 7       1601 Dauphin Street                                        6       Dallas, Texas 75270-2041
         Mobile, Alabama 36604                                      7
 8                                                                      APPEARING FOR THE UNITED STATES:
 9   APPEARING FOR THE DERIVATIVE PLAINTIFFS, MDL 2185              8       Ms. Jessica L. McClellan
     SECURITIES PLAINTIFFS SUBCLASS:                                        Ms. Chiquita Robertson
10       Mr. Victor S. Elias                                        9       U.S. DEPARTMENT OF JUSTICE
         COTCHETT, PITRE & MCCARTHY                                         TORT BRANCH, CIVIL DIVISION
11       1025 Connecticut Avenue, N.W. Suite 1000                  10       1425 New York Avenue, N.W.
         Washington, D.C. 20036                                             Suite 10100
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                                                                   11       Washington, D.C. 20005
13   APPEARING FOR MDL PLAINTIFFS:
         Mr. Conrad S.P. (Duke) Williams                                    Post Office Box 14271
14       WILLIAMS LAW GROUP, L.L.C.                                12       Washington, D.C. 20044-4271
         909 Poydras Street, Suite 1650                            13
15       New Orleans, Louisiana 70112                                   APPEARING FOR THE STATE OF LOUISIANA:
         Maison Grand Caillou                                      14       Mr. Henry Dart
16       435 Corporate Drive, Suite 101                                     ATTORNEY AT LAW, P.C.
         Houma, Louisiana 70360                                    15       510 North Jefferson Street
17                                                                          Covington, Louisiana 70433
18   APPEARING FOR BP, INC.:                                       16
         Mr. Micah C. E. Osgood                                    17   ALSO PRESENT:
19       KIRKLAND & ELLIS                                                   Ms. Kayla Barnes, Videographer
         555 California Street
                                                                   18
20       San Francisco, California 94104
21       Mr. Richard C. Godfrey
                                                                   19
         KIRKLAND & ELLIS                                          20
22       300 North LaSalle                                         21
         Chicago, Illinois 60654                                   22
23                                                                 23
24                                                                 24
25                                                                 25

                                                                                                                  1 (Pages 1 to 4)
                                    PURSUANT TO CONFIDENTIALITY ORDER
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                                           117                                                                 119
                                                  1




 :05
 :03




 :05
 :03   1




 :05
 :03




                                                 23      Q. So your team, then, did not make any
                                                 24   determination as to wheth- -- in what circumstances it
                                                 25   would be appropriate to divert overboard, correct?
                                           118                                                                 120
                                                  1       A. I -- I think the whole investigation team was
                                                  2   on the view if, you know, you -- you would, in a gas
                                                  3   blowout situation --
                                                  4       Q. Uh-huh.
1:04
1:06                                              5       A. -- divert overboard, not to the mud gas
                                                  6   separator. I mean, that -- that -- that was clear. The
                                                  7   device wasn't -- wasn't designed for a blowout.
                                                  8       Q. Uh-huh.
                                                  9       A. But, you know, that's not pointing the finger
1:04
1:06   1                                         10   at the individuals. They reacted --
                                                 11       Q. Uh-huh.
                                                 12       A. -- as they thought right, and they stayed
                                                 13   right to the end, trying to fight and -- and shut the
                                                 14   well in.
1:04
1:06                                             15




 :04
 :06




                                                                          30 (Pages 117 to 120)
                       PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 10 of 28




                                                                                 371

                            I, DAVID WALL, have read the foregoing
              deposition and hereby affix my signature that same is
          2   true and correct, except as noted above.
          3
          4
                                                            /'.), Ik"   ')'011
                                                                           ~


                                     DAVID WALL
       :)

          6   STATE OF T E X A S
              COUNTY Of
       7
       8                     Before me,                            , on
              this day personally appeared DAVID WALL, known to me, or
       9      proved to me under oath or through
               (description of identity card or other document)), to be
      10      the person whose name is subscribed to the foregoing
              instrument and acknowledged to me that they executed the
      11      same for the purposes and consideration therein
              expressed.
      12
                                Given under my hand and seal of office on
      13      this,   the         day of
      14
      15


      16                             NOTARY PUBLIC IN AND FOR THE
                                     STAT!;; OF TEXAS
      17
              My   Co~nission   Expires:
      18
      19
     20
     21
     22
     23
     24
     25



                            PURSUANT TO CON]1'IDfi~NTrALITY ORDEn
                  Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 11 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                  Reported by:

O. KIRK WARDLAW                                                                                June 9, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                       Page 1
                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO ON APRIL 20,                                  JUDGE BARBIER
                  2010                                                 MAG. JUDGE SHUSHAN




                      Deposition of O. KIRK WARDLAW, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Thursday, June
               9, 2011.




               APPEARANCES:



                            LIEFF CABRASER HEIMANN & BERNSTEIN
                            (By: Annika K. Martin, Esquire)
                            250 Hudson Street, 8th Floor
                            New York, New York 10013
                              (Attorneys for MDL 2185
                               Securities Plaintiffs Subclass)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                               Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters            Facsimile: (504) 525-9109
                                                                                                                          e4118713-518a-48dd-be39-26643265104f
                  Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 12 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:

O. KIRK WARDLAW                                                                                June 9, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 174                                                 Page 176




                                                                                           Page 175                                                 Page 177
   1                                                                                                  1




                                                                                                      13      Q. Are you familiar with the
                                                                                                      14   Deepwater Horizon's reputation within BP as
                                                                                                      15   being one of the stellar rigs in the fleet?
                                                                                                      16      MR. BOLES:
                                                                                                      17          Object to the form. Object it's
                                                                                                      18   beyond the scope of the 30(b)(6)
                                                                                                      19   deposition.
                                                                                                      20      THE WITNESS:
                                                                                                      21          I've heard it -- I've heard it
                                                                                                      22   mentioned within -- within BP.
                                                                                                      23   EXAMINATION BY MS. LeGRAND:
                                                                                                      24      Q. And you don't have any reason to
                                                                                                      25   disagree with it?
                                                                                                                            45 (Pages 174 to 177)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                       Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                      Facsimile: (504) 525-9109
                                                                                                                                      e4118713-518a-48dd-be39-26643265104f
                  Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 13 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                  Reported by:

O. KIRK WARDLAW                                                                                June 9, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 178                                     Page 180
   1         MR. BOLES:
   2              Same objections.
   3         THE WITNESS:
   4              I'm not a drilling engineer.
   5       No, I probably wouldn't.
   6




                                                                                           Page 179                                     Page 181
   1                                                                                                  1




                                                                                                                   46 (Pages 178 to 181)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                               Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters            Facsimile: (504) 525-9109
                                                                                                                          e4118713-518a-48dd-be39-26643265104f
                Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 14 of 28
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:

O. KIRK WARDLAW                                                                         June 9, 2011 JOSEPH R. KAISER, JR., CCR, RPR
                                                                                               189                                                         191




                                                                                                     10         Q. And do you agree that contracts
                                                                                                     11      should be enforced as written?
                                                                                                     12         MR. BOLES:
                                                                                                     13             Object to the -- object to the
                                                                                                     14      form and beyond the scope of the 30(b)(6)
                                                                                                     15      designation.
                                                                                                     16         THE WITNESS:
                                                                                                     17             Yes. The contracts say what the
                                                                                                     18      contracts say.
                                                                                                     19      EXAMINATION BY MS. LeGRAND:
                                                                                                     20         Q. And parties that entered into
                                                                                                     21      these agreements should live up to their
                                                                                                     22      obligations; is that a fair statement?
                                                                                                     23         MR. BOLES:
                                                                                                     24             Same objections.
                                                                                                     25         MR. YASMIN:
                                                                                               190                                                         192
                                                                                                         1       Objection.
                                                                                                         2     THE WITNESS:
                                                                                                         3       Yes, I would.




   1                                                                                                 1




                                                                                                                            48 (Pages 189 to 192)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                         Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                          Board-Certified Court Reporters                              Facsimile: (504) 525-9109
 Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 15 of 28


                                                                          Page 1
              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL          )     MDL NO. 2179
BY THE OIL RIG            )
"DEEPWATER HORIZON" IN    )     SECTION "J"
THE GULF OF MEXICO, ON    )
APRIL 20, 2010            )     JUDGE BARBIER
                          )     MAG. JUDGE SHUSHAN




                    *****************
                         VOLUME 1
                    *****************




         Deposition of Norman Wong, Individually and as
a Corporate Representative, taken at Kirkland & Ellis
International, 30 St. Mary Axe, 22nd Floor, London EC3A
8AF, England, United Kingdom, on the 13th of June,
2011.




            PURSUANT TO CONFIDENTIALITY ORDER
                                                             6064b8a1-4a54-4b68-8063-3547f1b50a02
    Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 16 of 28

                               Page 310                                                   Page 312




                                           6      Q. As you sit here today, are you aware of any
                                           7   evidence that any member of the DEEPWATER HORIZON
                                           8   Transocean crew was indifferent or simply did not care
                                           9   about the safety of other human beings?
                                          10      A. I don't -- I can't answer that question.
                                          11      Q. Well, so you're not aware of any evidence?
                                          12      A. I'm not aware of any evidence, no.
                                          13      Q. Okay. Are you aware of any evidence that any
                                          14   member of the DEEPWATER HORIZON crew was indifferent
                                          15   toward the care of the environment?
                                          16      A. Like my previous answer, I can't answer that.
                                          17      Q. Are you aware of any evidence, sir, that any
                                          18   member of the DEEPWATER HORIZON crew was indifferent
                                          19   to -- toward the care of the environment?
                                          20      A. Well, no.
                                          21      Q. Okay. Are you aware of any evidence that any
                                          22   member of the DEEPWATER HORIZON crew deliberately
                                          23   wanted to injure another human being?
                                          24      A. No.
                                          25      Q. Okay. Are you aware of any evidence that any
                               Page 311                                                   Page 313
1                                          1   member of the DEEPWATER HORIZON crew deliberately
                                           2   wanted to damage the environment in any way?
                                           3     A. No.
                                           4     Q. Are you aware of any member of the DEEPWATER
                                           5   HORI -- HORIZON crew acting with malice toward other
                                           6   human beings?
                                           7     A. Nope.
                                           8     Q. Are you aware of any member of the DEEPWATER
                                           9   HORIZON crew acting with malice toward the environment?
                                          10     A. No.
                                          11




                                                                  79 (Pages 310 to 313)
              PURSUANT TO CONFIDENTIALITY ORDER
                                                                            6064b8a1-4a54-4b68-8063-3547f1b50a02
         Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 17 of 28

                                                    Page 318                                                      Page 320
                                                               1    that when BP decided that the rig could go back into
                                                               2    service, that the DEEPWATER HORIZON was in an unsafe
                                                               3    condition?
                                                               4       A. Do I have any evidence? I don't believe I
                                                               5    have any evidence, no.




                                                               15         As far as you know, BP was satisfied when it
                                                               16   allowed the rig to go back into service as of
                                                               17   September 22nd, 2009, BP was satisfied that the rig was
                                                               18   able to operate safely; is that correct
                                                               19      A. Well, I wasn't part of that -- that -- that
                                                               20   decision-making process.
                                                               21      Q. As a result of the findings of the audit, and
                                                               22   then the followup efforts after the fact, okay, is it
                                                               23   your understanding that BP was satisfied when it
                                                               24   released the rig back into service that the rig could
                                                               25   operate safely?
                                                    Page 319                                                      Page 321
1                                                              1      A. I'd have to assume so.
                                                               2      Q. Okay. Well, would -- do you think that BP
                                                               3    would allow the rig to go back into service if it had
                                                               4    evidence that it could not operate safely?
                                                               5      A. No, I don't believe so.
                                                               6      Q. So as far as you know, BP was convinced that
                                                               7    the rig could operate safely when it allowed it to go
                                                               8    back into service as of September 22nd, 2009, correct?
                                                               9      A. Yeah, I think that's fair.
10




15      Q.                 You -- you -- you -- you
16   remember that the rig was taken out of service as a
17   result of certain audit findings, correct?
18      A. Yes.
19      Q. Okay.
20      A. That's correct.
21      Q. And then you testified earlier, I believe,
22   that the rig went back into service sometime
23   thereafter, right?
24      A. I believe it was the 22nd of September.
25      Q. Okay. Do you have any evidence to suggest

                                                                                        81 (Pages 318 to 321)
                          PURSUANT TO CONFIDENTIALITY ORDER
                                                                                                    6064b8a1-4a54-4b68-8063-3547f1b50a02
     Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 18 of 28

                                Page 322                                                    Page 324




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                                Page 323                                                    Page 325
1                                          1




10                                         1




                                           18       Q. Let me -- let me -- let me re -- let me repeat
                                           19   it, and this is in your Corporate Representative
                                           20   capacity, okay? When BP made the decision to allow the
                                           21   rig to go back into service, no information arising
                                           22   from the September 2009 Audit indicated that the
                                           23   DEEPWATER HORIZON crew was incompetent; is that
                                           24   correct?
                                           25       A. That's correct.

                                                                   82 (Pages 322 to 325)
               PURSUANT TO CONFIDENTIALITY ORDER
                                                                              6064b8a1-4a54-4b68-8063-3547f1b50a02
            Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 19 of 28

                                                              Page 326                                                    Page 328
1      Q. Okay? This is another question directed to
2    you in your Corporate Representative capacity, sir?
3      A. (Nodding.)
4      Q. When BP made the decision to allow the
5    DEEPWATER HORIZON Rig -- excuse me, DEEPWATER HORIZON
6    Rig to go back into service, there was no information
7    arising from the September 2009 Rig Audit that
8    indicated that the BOP would not function properly. Is
9    that correct?
10     A. That's correct.                                                10
11
12                                                                       12      Q.                     This is a question directed to
13                                                                       13   you in your Corporate Representative capacity.
14                                                                       14         It is true, is it not, sir, that the
15                                                                       15   Transocean DEEPWATER HORIZON began rigorously closing
16                                                                       16   out audit find -- findings during the month following
17                                                                       17   the September 2009 Audit?
18                                                                       18      A. Yes, that's true.
19                                                                       19
20                                                                       20
21                                                                       21
22                                                                       22
23                                                                       23
24                                                                       24


                                                              Page 327                                                    Page 329
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                                                                         20
                                                                         21
                                                                         22




                                                                                                 83 (Pages 326 to 329)
                               PURSUANT TO CONFIDENTIALITY ORDER
                                                                                                            6064b8a1-4a54-4b68-8063-3547f1b50a02
Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 20 of 28




                                                                        575



           1

        2                  I, NORMAN WONG I   have read the foregoing
        3      deposition and hereby affix my signature that same is
        4      true and correct, except as noted on the attached
        5      Amendment Sheet.
        6

        7
                                                NORMAN WONG
        s
        9
               THE STATE OF
       10
               COUNTY OF
       11

       12               Before me I                           ,on    ~
               this day personally appeared NORMAN WONG, known to me
       13      (or proved to me on the oath of
                                        or through
       14      to be the person whose name is subscribed to the
               foregoing instrument and executed the same for the
       15      purposes and consideration therein expressed.
                        GIVEN UNDER my hand and seal of office this
       16            day of                    , 2011.
      17

       18
                                Notary Public in and for
      19                        The State of

      20
      21



      23

      24

      2S




                           PURSUANT TO CONFIDENTIALITY ORDER
             Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 21 of 28


                                                             381                                                            383
                                                                    ;    APPEARING FOR CERTArN TRANSOCEAN EXCESS
                 UNITED STATES DISTRICT COURT
                                                                         UNDERWRlTERS:
                 EASTERN DISTRICT OF LOUISIANA                      2      Mr. George M. Gilly
                                                                           PHELPS DUNBAR
         IN RE: OIL SPILL    ) MDL NO. 2179                         3     Canal Place
                                                                           365 Canal Street, Suite 2000
         BY THE OIL RIG       )                                     4      New Orleans, Louisi.na 70130-6534
         "DEEPWATER HORIZON" IN) SECTION "J"                        ;;     Mr Kyle S. Moran
         THE GULF OF MEXICO. ON )                                          PHELPS DUNBAR
                                                                    6      NorthCourt One
         APRIL 20, 2010    ) JUDGE BARBIER                                 2304 19th Street, Suite 300
                     ) MAG. JUDGE SHUSHAN                           7      Gulfport, Mississippi 36501
                                                                    8
                                                                         APPEARING FOR ANADARKO PETROLEUM COMPANY:
                                                                    9     Mr. Steven Brody
                                                                          BINGHAM MCCUTCHEN
                                                                   10     399 Park Avenue
                                                                           New York, New York 10022-4689
                                                                   11
                                                                          Ms. Courtney E. Smith
                                                                   12     BINGHAM MCCUTCHEN
                                                                          1900 University Boulevard
                                                                   13     East Palo Alto, California 94303-2223
                                                                   14
                                                                         APPEARING FOR MOEX:
                                                                   IS      Mr. Greg T. Lembrich
                                                                           PILLSBURY WINTHROP SHAW PITTMAN
                     *.*.***.*.*******                             16      1540 Broadway
                        VOLUME 2                                           New York, New York 10036-4039
                     •••••••••••••••••                             :7
                                                                   18    APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                                          Mr. David W Jones
                                                                   19     BECK. REDDEN & SECREST
                                                                          One Houston Center
              Continuation of the deposition of Barbara            20      1221 McKinney Street, Suite 4500
         Jean Lowery-Yilmaz, taken at Pan-American                        Houston, Texas 77010-2010
         Building, 601 Poydras Street, 11th Floor, New             21
,        Orleans, Louisiana, 70130, on the 27th day of
                                                                   22    APPEARING FOR WEATHERFORD:
                                                                           Mr. Douglas C. Longman, Jr
         July, 201 L                                               23     JONES, WALKER, WAECHTER, POITEVENT,
                                                                          CARRERE & DENEGRE, LLP
                                                                   24     600 Jefferson Street, Suile 1600
                                                                           Lafayette, Louisiana 7050 I
                                                                   2"
                                                             382                                                            384
     1          APPEARANCES                                         1      Ms. Lauren Courtney Mastio
     2                                                                     JONES, WALKER, WAECHTER, POITEVENT,
     3                                                              2      CARRERE & DENEGRE, LLP
     4   APPEARlNG FOR THE PLAINTIFFS' STEERING COMMITTEE:                 20 I St. Charles Avenue
           Mr. Ronnie G. Penton                                     3      New Orleans, Louisiana 70170-5100
     5    LA W OFFICES OF RONNIE G. PENTON                          4
          209 Hoppen Pl.ce                                               APPEARlNG FOR DRlL-QUIP, INC.:
     6     Bogalusa, Louisian. 70427-3827                           5      Mr. C. Dennis Barrow, Jr.
     7                                                                     WARE, JACKSON, LEE & CHAMBERS
,        APPEARlNG FOR THE DERlVATIVE PLAINTIFFS,                   6      America Tower, 42nd Floor
:    8   MDL 2185 SECURlTIES PLAINTIFFS SUBCLASS:                          2929 Allen Parkway
           Mr. Warner Hocker                                        7      Houston, Texas 77019·710 I
     9     MITHOFF LA W FIRM                                        B
           500 Dallas SI. - Penthouse                                    APPEARlNG FOR M-I SWACO,
    10     Houston, Texas 77002                                     9      Ms. Denise Scofield
    11                                                                    MORGAN, LEWIS & BOCKIUS, LLP
         APPEARING FOR BP, INC.:                                   10      1000 Louisiana Street, Suite 4200
    12     Ms. Hariklia "Carrie" Karis                                     Houston, Texas 77002-5006
           KIRKLAND & ELLIS                                        11
    13     300 North LaSalle                                       12    APPEARING FOR HALLIBURTON:
          Chicago, Illinois 60654                                          Mr. Donald E. Godwin
    14                                                             13      Ms. Stefanie K. Major
           Ms. Karen K. Gase                                               Mr. James E. Johanns
    15     Managing Attorney                                       14      Mr. Jon-Bernard Schwartz
           BP AMERlCA INC.                                                GODWIN RONQUILLO
    16     50 I Westlake Park Boulevard                            15      120 I Elm Street, Suite 1700
           Houston, Texas 77079                                            Dallas, Texas 75270-2041
    17                                                             16
    18   APPEARlNG FOR TRANSOCEAN:                                 17    APPEARING AS OBSERVER FOR THE
          Mr. Steven L. Roberts                                          U.s. DEPARTMENT OF THE INTERIOR:
    19    SUTHERLAND ASBILL & BRENNAN                              18      Mr. Lance C. Wenger
           1001 Fannin. Suite 3700                                         OFFICE OF THE SOLICITOR
    20    Houston, Texas 77002-6760                                19      ROCK Y MOUNTAIN REGION
    21    Mr. Richard J. Hymel                                             U.S. DEPARTMENT OF THE INTERlOR
          Mr. M. Benjamin Alexander                                20      755 Parfet Street, Suite 151
    22    PREIS & ROY                                                      Lakewood, Colorado 80215
          Versailles Cenlre. Suite 400                             21
    23     102 Versailles Boulevard                                22
          Lafayette, Louisiana 7050 I                              23
    24                                                             24
    25                                                             25

                                                                                                     1      (Pages 381 to 384)

                                          PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 22 of 28


                                                                                           411




                                      25
                                410                                                        412




                                      20     Q. In any of the time of your dealings with
                                      21   Transocean or GlobalSantaFe, did you ever get the
                                      22   impression that either company was consciously
                                      23   indifferent toward the safety ofindlviduals?
                                      24     A. No.
                                      25     Q. Did you ever get the impression that the

                                                             8 (Pages 409 to 412)
            PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 23 of 28


                                                413                                 415
1   companies just didn't care about the safety of
2   the environment or individuals?
3      A. No.
4      Q. Did you ever hear that from any of the
5   employees within the BP organization, that they
6   felt like Transocean was consciously indifferent
7   toward the safety of individuals or the
8   environment?                                                                e
9      A. No.




                                                414                                 416




                                                          9 (Pages 413 to 416)
                     PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 24 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                               Reported by:

PAUL ANDERSON VOL. II April 28, 2011                                                          THU BUI, CCR, RPR

                                                                                                               Page 378
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                                        **************
                                            VOLUME 2
                                         **************




                       Deposition of PAUL ANDERSON,
            taken at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on the 28th of April, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
                                                                                                     8d38bef5-a552-453b-8a61-18858e20a67a
              Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 25 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                     Reported by:

PAUL ANDERSON VOL. II April 28, 2011                                                                             THU BUI, CCR, RPR
                                                                        Page 447                                                         Page 449




                                                                        Page 448                                                         Page 450
  1                                                                                         1      Q. You had worked with the
                                                                                            2   Transocean crew that was on tour on the
                                                                                            3   Deepwater Horizon on the evening of
                                                                                            4   April 20th, 2010, correct?
                                                                                            5      A. April what?
                                                                                            6      Q. April 20th, 2010.
                                                                                            7      A. I worked with the crew on
                                                                                            8   Transocean on April the 19th, in the
                                                                                            9   evening.
                                                                                           10      Q. And you had worked with the crew
                                                                                           11   prior to April 20th, 2010, but the crew
                                                                                           12   that was on shift or on tour the night of
                                                                                           13   April 20th, 2010?
                                                                                           14      A. Yes, I did.
                                                                                           15      Q. You had worked with Jason
                                                                                           16   Anderson before April 20th, 2010, correct?
                                                                                           17      A. Yes.
                                                                                           18      Q. You had worked with Dewey
                                                                                           19   Revette before April 20th, 2010, correct?
                                                                                           20      A. Who is Dewey?
                                                                                           21      Q. Had -- had you worked with Dewey
                                                                                           22   Revette before?
                                                                                           23      A. I remember the name.
                                                                                           24      Q. But you -- you had not worked
                                                                                           25   with Dewey Revette before?
                                                                                                                 19 (Pages 447 to 450)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                             Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                 Board-Certified Court Reporters                           Facsimile:(504) 525-9109
                                                                                                                           8d38bef5-a552-453b-8a61-18858e20a67a
              Case 2:10-md-02179-CJB-DPC Document 4457-25 Filed 11/01/11 Page 26 of 28
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                    Reported by:

PAUL ANDERSON VOL. II April 28, 2011                                                                            THU BUI, CCR, RPR
                                                                        Page 451                                                        Page 453
  1        A. Yes.                                                                          1   the Macondo prospect ever deliberately
  2        Q. You have?                                                                     2   wanting to cause injury to the environment
  3        A. Yeah, but what was his position                                               3   or any person?
  4     on the --                                                                           4      A. No, I have not.
  5        Q. Dewey Revette, I believe, was                                                 5      Q. Are you aware of any Transocean
  6     the toolpusher?                                                                     6   employee or manager involved in the Macondo
  7             MR. HILL:                                                                   7   prospect ever acting maliciously or not
  8               Object to form.                                                           8   caring about causing injury to another
  9        A. Dewey. I -- yes. I remember                                                   9   human or the environment?
 10     Dewey. I didn't know his position.                                                 10      A. No, I have not.
 11        Q. Had you ever worked with him                                                 11      Q. Are you aware of any Transocean
 12     before on the -- on the rig?                                                       12   employee or manager involved in the Macondo
 13        A. If he was out there on the 19th,                                             13   prospect ever willfully inflicting harm on
 14     yes, I did.                                                                        14   any person or the environment?
 15        Q. Okay. You knew Stephen Curtis?                                               15      A. No, I have not.
 16        A. Not by name, no.                                                             16
 17        Q. Had you ever -- you don't recall
 18     working with Stephen Curtis?
 19        A. I don't recall his name.
 20        Q. What about Donald Clark? Did
 21     you know Donald Clark?
 22        A. I don't recall his name, no.
 23        Q. But you had worked with the
 24     Transocean crew on the Deepwater Horizon
 25     before, correct?
                                                                        Page 452                                                        Page 454
  1        A. Yes, I did.                                                                  1
  2        Q. And they were a skilled crew,
  3     correct?
  4        A. They were what?
  5        Q. Skilled?
  6        A. Yes, they did seem skilled.
  7        Q. They were knowledgeable?
  8        A. Yes.
  9        Q. They did their job?
 10        A. Yes.
 11        Q. You trusted them?
 12        A. In my part of the operation,
 13     yes.
 14        Q. You had no reason not to trust
 15     them, correct?
 16        A. No, I did not.
 17        Q. Had you ever seen anybody on the
 18     Transocean crew on the Deepwater Horizon
 19     ever perform their job in a way that you
 20     thought was negligent?
 21            MR. HILL:
 22              Object to form.
 23        A. No, I have not.
 24        Q. Are you aware of any Transocean
 25     employee or manager that was involved in
                                                                                                                20 (Pages 451 to 454)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                            Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                 Board-Certified Court Reporters                          Facsimile:(504) 525-9109
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                                                         1                                                                    3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR WEATHERFORD:
            EASTERN DISTRICT OF LOUISIANA                          Mr. Edward D. Wegmann
                                                              2    JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    201 St. Charles Avenue
     BY THEOIL RIG     )                                           New Orleans, Louisiana 70170-5100
                                                              4
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5   APPEARING FOR DRIL-QUIP, INC.:
     THE GULF OF MEXICO, ON )                                      Ms. Wendy Ware Bishop
     APRIL 20, 2010   ) JUDGE BARBIER                         6    WARE, JACKSON, LEE & CHAMBERS
                 ) MAG. JUDGE SHUSHAN                              America Tower, 42nd Floor
                                                              7    2929 Allen Parkway
                                                                   Houston, Texas 77019-7101
                                                              8
                                                              9   APPEARING FOR M-I SWACO:
                                                                   Mr. Steven A. Luxton
                                                             10    MORGAN, LEWIS & BOCKIUS, LLP
                                                                   1111 Pennsylvania Avenue, NW
                                                             11    Washington, D.C. 20004
                                                             12
                                                                  APPEARING FOR HALLIBURTON:
                                                             13    Mr. Bruce W. Bowman, Jr.
                                                                   Ms. Elisaveta Dolghih
                                                             14    GODWIN RONQUILLO
                                                                   Renaissance Tower
                 *****************                           15    1201 Elm Street, Suite 1700
                                                                   Dallas, Texas 75270-2041
                    VOLUME 1                                 16
                 *****************                           17   APPEARING FOR THE STATE OF LOUISIANA:
                                                                   Mr. Henry Dart
                                                             18    510 North Jefferson Street
                                                                   Covington, Louisiana 70433
           Deposition of James Russell Bement, taken         19
     at the Pan-American Building, 601 Poydras Street,       20   ALSO PRESENT:
     11th Floor, New Orleans, Louisiana, 70130, on the             Mr. Mark Hendrix, Videographer
     20th day of September, 2011.                            21
                                                             22
                                                             23
                                                             24
                                                             25

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 3
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       Houston, Texas 77056                                  15
17
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19     Ms. Milele St. Julien                                 18
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       New Orleans, Louisiana 70112
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       Ms. Kathleen A. Gallagher                             21     process compared to reference curve 135/9
23     BECK, REDDEN & SECREST                                22
       One Houston Center                                    23
24     1221 McKinney Street, Suite 4500
       Houston, Texas 77010-2010                             24
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                                                 237                                                        239
                                                        1     that well.
                                                        2        Q. At any time did any of the individuals
                                                        3     that you've dealt with at Transocean indicate to
                                                        4     you that they were indifferent to the health or
                                                        5     welfare of individuals who might be working on
                                                        6     their drilling rigs?
                                                        7        A. No, ma'am.
                                                        8        Q. At any time did any of the -- of the
                                                        9     individuals with whom you've dealt at Transocean
1                                                      10     ever indicate to you that they were indifferent
                                                       11     to the environment in connection with their
                                                       12     drilling operations?
                                                       13        A. No, ma'am.
                                                       14        Q. In your position as Vice President for
                                                       15     Sperry Drilling, did you ever receive feedback
                                                       16     from your employees that Transocean employees
                                                       17     were conducting their jobs in a way that
                                                       18     indicated that they were indifferent to the
                                                       19     health and welfare of the individuals who were
                                                       20     working on their rigs?
                                                       21        A. No, ma'am.
                                                       22        Q. If you had received complaints or
                                                       23     concerns about the manner in which Transocean
                                                       24     employees were conducting their jobs, is it fair
                                                       25     to say that as Vice President of Sperry Drilling
                                                 238                                                        240
                                                          1   you would have taken some type of action to
                                                          2   protect your employees?
                                                          3           MR. BOWMAN: Objection, form.
                                                          4     A. Yes, ma'am.
 5       Q. In your role as Vice President of Sperry      5
 6   Drilling, have you had an opportunity to work
 7   with Transocean in the past?
 8       A. Sure.
 9       Q. How long would you say you've had that
10   opportunity?                                     1
11       A. Well, we're on -- we share many of the
12   same customers. So we're on several Transocean
13   rigs around the world. So that relationship
14   really is, I guess you could say, performance
15   driven and -- and related to our customers,
16   shared customer interest.
17       Q. Do you currently have Sperry employees on
18   Transocean rigs?
19       A. I can't name one off the top of my head,
20   but I'm almost certain we're on several rigs.
21       Q. Do you know how many years Sperry has had
22   employees on Transocean rigs?
23       A. Well, specific to the HORIZON, I believe
24   it's since 2004. Is that when the HORIZON came
25   out? I think from very first well we were on
                                                                              60 (Pages 237 to 240)
                        PURSUANT TO CONFIDENTIALITY ORDER
